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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA



ZACH McQUEEN and FRED                                    Civ. No.: 19-cv-2559 (DWF/BRT)
KRAUTKRAMER, individually and on
behalf of others similarly situated,
                             Plaintiffs,
                                                   PLAINTIFFS’ MEMORANDUM IN
            vs.
                                                   OPPOSITION TO DEFENDANT’S
YAMAHA MOTOR CORPORATION,                         MOTION TO DISMISS THE SECOND
U.S.A.,                                               AMENDED COMPLAINT


                               Defendant.


                                    INTRODUCTION

       Defendant Yamaha Motor Corporation’s (“Defendant” or “Yamaha”) knowingly

sold dangerous off-road vehicles with defective radiators that result in inadequate engine

cooling, engine overheating, engine failure, and even engine fire. Yamaha has failed to

inform consumers of this dangerous safety defect, or recall the defective vehicles.

Recognizing the existence of the defect, Yamaha made changes to later models of the

vehicles to obviate it. Plaintiffs allege that Yamaha’s concealment of the dangerous defect

caused them to purchase their vehicles when they otherwise would not have purchased

them at all or would have paid less for them. Plaintiffs assert claims for violations of state

consumer protection laws, breach of warranty, fraud, and unjust enrichment.1 Yamaha’s



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 Plaintiffs voluntarily concede their express warranty claim under Indiana law only
(Count III) and good faith and fair dealing claims (Count VI).
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motion to dismiss seeks to avoid all liability for selling dangerously the defective vehicles.

As detailed herein, Yamaha cannot escape liability at this stage and its motion to dismiss

should be denied.

                                STATEMENT OF FACTS

       Yamaha designs, engineers, manufacturers, and sells model years 2016–2018 of

Yamaha’s Pure Sport YXZ1000R, YXZ1000SE, YXZ1000SS, and YXZ1000SS SE Side-

by-Side vehicles (the “Class Vehicles”). Second Amended Complaint (“SAC”) ¶ 1.

Plaintiffs allege that the Class Vehicles all suffer from a design and manufacture defect

that Yamaha failed to disclose at the point of sale. (SAC ¶¶ 1-3). The defect causes the

Class Vehicles’ engines to overheat as a result of the radiators’ placement (the “Radiator

Defect”). Id. ¶¶ 2-3. Yamaha mounted the radiators to the front of the Class Vehicles. Id.

¶ 48. Instead of properly cooling the Class Vehicles’ engines, the Class Vehicles’ front-

mounted radiators do not operate as intended and cause the Class Vehicles’ engines to

overheat. Id. ¶¶ 51-53. During the intended use of the Class Vehicles, the front-mounted

radiators become clogged with mud, debris or sand and are unable to properly cool the

Class Vehicles’ engines. Id. ¶¶ 51, 53, 55-56, 68. The overheating causes premature wear

of the engine, engine bearings, and other internal components, and can destroy head gaskets

and cause antifreeze to boil over and spray vehicle users and passengers. Id. ¶¶ 51-53.

Premature wear of the engine causes catastrophic engine failure and even fire. Id. ¶¶ 51,

53.

       Yamaha has known of the risk posed by the Class Vehicles’ front-mounted radiator

since at least 2016. Id. ¶ 68. Despite recognizing the risk posed by the Class Vehicles’

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engines overheating as a result of the radiator placement, Yamaha continued mounting the

radiator to the front of the Class Vehicles for the model years 2016–2018. These radiators

were manufactured in a way that does not allow for proper venting and cooling. Yamaha

relocated the radiators to the rear of the redesigned 2019 model year YXZ 1000R Pure

Sport Side-by-Side vehicle, acknowledging the risk posed by the Class Vehicles’ front-

mounted radiator. Id. ¶¶ 54-55. Yamaha publicly stated, “[F]or 2019, the YXZ 1000R SS

uses an all-new cooling system that not only ensures proper cooling during the toughest

conditions, but is designed to ensure the cabin remains comfortable and the radiator stays

clear of mud and debris.” Id. ¶ 55. Yamaha also advertised that this new rear-mounted

radiator reduces cabin heat and eliminates the risk of clogging while driving through mud.

Id. ¶¶ 56-57.

       Yamaha has never recalled the Class Vehicles nor disclosed the true nature of the

Radiator Defect to Plaintiffs and the public at large. See, e.g., id. ¶¶ 60, 64.

                                   LEGAL STANDARD

       In order to survive a motion to dismiss for failure to state a claim brought under

Rule 12(b)(6) of the Federal Rules of Civil Procedure, “the facts alleged ‘must be enough

to raise a right to relief above the speculative level.’” In re Pre-Filled Propane Tank

Antitrust Litig., 860 F.3d 1059, 1063 (8th Cir. 2017) (quoting Bell Atlantic Corp. v.

Twombley, 550 U.S. 544, 555). When reviewing a motion to dismiss, a court must accept

as true all of the plaintiff’s allegations and construe them in the light most favorable to

the plaintiff. Riley v. St. Louis Cty., 153 F.3d 627, 629 (8th Cir. 1998). A complaint must

“state a claim to relief that is plausible on its face.” Braden v. Wal-Mart Stores, Inc., 588

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F.3d 585, 594 (8th Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

While a complaint needs more “than labels and conclusions,” it “does not need detailed

factual allegations” for a claim to be plausible. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007).

       Claims that are subject to the heightened pleading standard of Rule 9(b) of the

Federal Rules of Civil Procedure need only be “specific enough to give defendants notice

of the particular misconduct which is alleged to constitute the fraud charged so that they

can defend against the charge and not just deny that they have done anything wrong.”

United States ex rel. Costner v. United States, 317 F.3d 883, 889 (8th Cir. 2003).

                                      ARGUMENT

 I.    Plaintiffs Have Adequately and Sufficiently Pled IDCSA, MPCFA, and
       Common Law Fraud Claims.

       Defendant mischaracterizes the nature of Plaintiffs’ claims under the Indiana

Deceptive Consumer Sales Act (“IDCSA”), the Minnesota Prevention of Consumer

Fraud Act (“MPCFA”), and common law fraud claims when they argue that Plaintiffs’

theory of liability fails under all counts just because the front-mounted location was

allegedly disclosed. Def. Mem. at 8. The crux of Plaintiffs’ claim is not whether “the

front-mounted location [itself] was disclosed”, but rather that its front-mounted location

is an inherent design and/or manufacturing defect and that the radiators’ frequent

clogging with mud, debris, or sand when being used as intended was actually caused by

Defendant. SAC ¶¶ 2–3, 20-21, 53, 84-85, 96-97.




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       Defendant’s argument improperly places a burden on Plaintiffs to know, by the

mere virtue of their supposed visual observation of the radiator’s location (a fact

Defendant asserts with no support from Plaintiffs’ complaint), the universe of

Defendant’s fraud—that such radiators are defectively designed and/or manufactured,

that this defect causes engine overheating resulting in decreased performance and

premature wear on engine, engine bearings and other internal components, increased cost

of repair and remediation, engine failure, stalling, fires, and other dangerous situations to

Plaintiffs. SAC ¶¶ 3, 51, 53. The law, however, places the duty on Defendant to disclose.

Unlike Defendant, Plaintiffs do not presume to be and are not designers nor engineers of

Class Vehicles. Thus, Defendant’s argument is unavailing and the Court should

deny its motion to dismiss Plaintiffs’ omissions-based claims.

          A. Defendant Knowingly Failed to Disclose the Radiator Defect,
             and That Such Defect is the Result of a Design and/or Manufacturing
             Defect Caused by Defendant.

       Plaintiffs have alleged that Defendant’s failure to disclose the material Radiator

Defect caused Plaintiffs harm. E.g., SAC ¶¶ 3, 65-66, 83-84, 96-96. Omissions are

actionable if they are material to the transaction, and if the party concealing

the relevant facts was under a legal or equitable obligation to communicate the fact to the

other party. Graphic Commc’ns Loc. 1B Health & Welfare Fund A v. CVS Caremark

Corp., 850 N.W.2d 682, 694-95 (Minn. 2014); DeVoe Chevrolet-Cadillac, Inc. v.

Cartwright, 526 N.E.2d 1237, 1240 (Ind. App. 4th Dist. 1988) (requiring a duty to

disclose certain facts to another, the party’s knowing failure to do so, and the other

party’s justifiable reliance to his detriment); see also Gasbi, LLC v. Sanders, 120 N.E.3d

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614, 618 (Ind. App. 2019) (“incurable” acts, unlike “uncured” acts” under the IDCSA do

not require notice).

       Courts routinely apply a more relaxed and less formulaic version of Rule 9(b)’s

who, what, when, where, how requirements to omission-based claims at the motion to

dismiss stage. See, e.g., In re Polaris Mktg., Sales Practices, and Products Liab. Litig.,

364 F. Supp. 3d 976, 988 (D. Minn. 2019) (upholding fraudulent omission and consumer

fraud claims); OrthoAccel Techs., Inc. v. Devicix, LLC, No. 15-1503 DWF/TNL, 2015

WL 4563134, at *3 (D. Minn. July 29, 2015) (“Rule 9(b) does not require that the exact

particulars of every instance of fraud be alleged, so long as the complaint includes

enough detail to inform the defendant of the core factual basis of the fraud claims.”)

(citations and internal quotation marks omitted); Schwartz v. Pella Corp., 2:14-CV-

00556-DCN, 2014 WL 7264948, at *6 (D.S.C. Dec. 18, 2014) (denying motion to

dismiss fraudulent omission claims where plaintiff alleged defendant was aware of a

defect, concealed such defect from consumers, and plaintiff would have taken different

action had they known about the defect); Weske v. Samsung Elecs., Am., Inc., 42 F. Supp.

3d 599, 614 (D.N.J. 2014) (noting that fraud by omission claims are not required to plead

fraud as precisely as they would a false representation claim).

       Plaintiffs have alleged that they purchased Class Vehicles from authorized

Yamaha dealers. SAC ¶¶ 17, 27. Prior to their purchases, Plaintiffs reviewed various

advertising from Yamaha, none of which disclosed the Class Vehicles’ defective design

and/or manufacture and that they would become frequently clogged with mud or debris,

resulting in inadequate cooling, overheating, potential catastrophic engine failure and

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fire, and the resulting increased risk to occupants, passengers, and others in close

proximity. SAC ¶¶ 2, 3, 17, 27. It is irrelevant that Plaintiffs purchased Class Vehicles in

2019; Plaintiffs do not allege that they knew that the 2019 version had back-mounted

radiators until after the fact or that Plaintiffs knew that this design change was the result

of Defendant’s knowledge of and attempt to remedy the Radiator Defect for newer

models. Even if Plaintiffs were aware the 2019 version featured a back-mounted radiator,

this is irrelevant to Defendant’s duty to disclose the Radiator Defect in the Class Vehicles

to Plaintiffs under the IDSCA, MFPCA, and common law fraud.

       Plaintiffs allege that Yamaha specifically designed and manufactured Class

Vehicles for activities such as mud bogging or otherwise riding in every terrain, including

muddy terrains. SAC ¶¶ 56-58; 69. Its advertising and meaningless warning of potential

overheating “if the radiator is caked with mud” is merely demonstrative of this

knowledge. SAC ¶¶ 55-58; 68 (compiling customer complaints, one specifically noting

“how little mud it takes to clog it up”). Plaintiffs further alleged that even on terrain

without mud, the radiators are unable to operate as intended. SAC ¶ 53. Had Defendant

properly disclosed that the Radiator Defect makes the Class Vehicles unusable and

unsafe, Plaintiffs would not have purchased them. SAC ¶¶ 66, 88, 101. Thus, Defendant’s

failure to disclose the Radiator Defect is inherently “unfair, abusive, or deceptive.” Sims




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v. New Penn Fin. LLC, 3:15-CV-263, 2016 WL 6610835, at *5 (N.D. Ind. Nov. 8,

2016).2

            B. Defendant Had a Duty to Disclose.

       Minnesota courts have identified a non-exclusive set of special circumstances that

triggers a duty to disclose: (1) “a confidential or fiduciary relationship with the other

party”; (2) “special knowledge of material facts to which the other party does not have

access”; and (3) when a person is speaking, they “must say enough to prevent the words

communicated from misleading the other party.” Graphic Commc’ns, 850 N.W.2d 682 at

695.

       Here, Plaintiffs have alleged that they purchased from authorized Yamaha dealers

and repair centers, that Defendant exclusively controls the design, manufacture,

distribution, service, repair, modification, installation, and decisions regarding radiator

locations, and that Defendant is experienced in the design and manufacture of Class

Vehicles. SAC ¶¶ 17, 27, 42, 62, 63. Plaintiffs have also specifically alleged Defendant

had exclusive knowledge of the Radiator Defect but has not disclosed it. SAC ¶¶ 54-64,

66. Moreover, Defendant’s insignificant warning of potential overheating “if the radiator



2
  Plaintiffs’ quotation of Sims should not be construed to suggest that Plaintiffs agree with
Defendant’s argument that its case facts apply. Indeed, both Graphic Commc’ns and Sims
are factually and legal distinguishable here. Neither involved goods where fitness for
intended use was at issue. The Sims court concluded that omission-based claims failed
because plaintiff pled “no facts to support that [Defendant’s] omission was ‘unfair, abusive,
or deceptive’ in any way” (2016 WL 6610835, at *5) and the Graphic Commc’ns court
stated that plaintiff “failed to allege any facts that would trigger a duty” for defendants to
disclose additional facts (N.W.2d 682 at 697).

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is caked with mud” in its owner’s manual has no relevance. The owner’s manual was not

provided until after the Plaintiffs purchased their Class Vehicles. (See Section III, infra.)

This is just one example of Defendant’s misleading, and wholly incomplete disclosure.

See SAC ¶ 58.

       Although Defendant attempts to cast Plaintiffs’ claims as hypothetical, Plaintiffs

have asserted clear allegations that the Radiator Defect is present in every Class Vehicle,

and those defects have caused concrete out of pocket expenses for the Plaintiffs. E.g.,

SAC ¶¶ 19-21, 24, 28-30, 33, 34, 36, 97-98. Not only did Defendant fail to properly

disclose the defects, Defendant also ignored Plaintiff Krautkramer’s multiple attempts to

seek compensation for related expenses. SAC ¶¶ 32-34. Accordingly, to the extent that

allegations of a duty is required, equity imposes a duty on Defendant to properly disclose

the Radiator Defect, which Defendant failed to do.

       Defendant also argues that the lack of an “allegation here that Plaintiff

Krautkramer contracted with Yamaha,” precludes Plaintiff’s claims under the MPCFA

and common law. Def.’s Mem. at 12. There is no such requirement. See In re Volkswagen

Timing Chain Prod. Liab. Litig., CV 16-2765 (JLL), 2017 WL 1902160, at *19 (D.N.J.

May 8, 2017) (collecting cases and acknowledging that many states, including MN and

IN recognize a duty to disclose where defendant possesses exclusive or superior

knowledge or actively conceals the omitted information). If Defendant’s argument for

privity of contract requirement were to hold any water, Minnesota residents would never

be able to bring an action against any manufacturer for fraud—the antithesis of the

MPFCA’s purpose—as consumers rarely contract with manufacturers directly. See

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MINN. STAT. § 325F.69(1) (expressly authorizing a private cause of action for any party

directly or indirectly injured by violations of the MFCA); Group Health Plan, Inc. v.

Philip Morris Inc., 621 N.W.2d 2, 12 (Minn. 2001) (noting legislature’s intent to make it

easier for consumers to sue under the statute versus at common law; “plaintiff need only

plead that defendant engaged in conduct prohibited by the statutes and that plaintiff was

damaged thereby.”) As such, Defendant’s motion should be denied.

II.    Yamaha Breached its Express Warranties
          A. Yamaha Breached its Warranty.

       Yamaha breached its Limited Warranty (“Warranty”) by selling Plaintiffs

defective vehicles and by refusing to pay to address the Radiator Defect within those

vehicles. SAC ¶¶ 6, 105-110. Defendant argues that the Warranty does not cover design

defects. The defect alleged in the SAC, however, is covered by the Warranty in this case,

both as a manufacturing and as a design defect.

       Defendant relies on Bruce Martin Constr., Inc. v. CTB, Inc., 735 F.3d 750 (8th

Cir. 2013), in support of its argument that a design defect is not covered by the Warranty

under Indiana law. Def. Mem. at 13. That case, however, expressly acknowledges the

“distinction between design and manufacture,” Bruce Martin Constr., Inc., 735 F.3d at

753 (citing Hoffman v. E.W. Bliss Co., 448 N.E.2d 277, 281 (Ind.1983)), and that the

phrase “free from defects in material and workmanship” in a warranty can refer to

manufacturing defects. Bruce Martin Constr., Inc., 735 F.3d at 753 (quoting Rice v.

Sunbeam Prods., Inc., No. CV 12–7923–CAS–(AJWX), 2013 WL 146270, at *12

(C.D.Cal. Jan. 7, 2013)). Likewise in the instant case, Defendant has promised that its

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Class Vehicles will be “free from defects in material and workmanship.”3 Unlike the

plaintiff in Bruce Martin Constr., Inc., though, Plaintiffs here do not limit their express

warranty claim to a design defect theory; instead, the Complaint alleges that the Class

Vehicles are “defectively designed and/or manufactured.” SAC ¶¶ 2, 61, 108. So, the

manufacturing defect is covered by the Warranty.

       Defendant also incorrectly claims that Plaintiffs did not present their vehicles to

Yamaha for warranty service or repairs. Def. Mem. at 14.) In fact, Plaintiffs did comply

with the Warranty requirement that they “[g]ive notice to an authorized Yamaha Side x

Side dealer of any and all apparent defects within ten (1) days after discovery, and make

the machine available at that time for inspection and repairs at such dealer’s place of

business.” (Yamaha Warranty at 11-6). In compliance with that requirement, Plaintiff

Krautkramer “contacted [the dealer] about the radiator issues that he was experiencing.”

SAC ¶ 32). Ecofun Motorsports, though, declined to have Plaintiff Krautkramer bring in

his vehicle, stating “that they were not aware of the radiator issue.” Id. Thus, Plaintiff

Krautkramer did give notice to the dealership, but it opted not to have him bring in the

vehicle.

       At this stage, Defendant’s motion to dismiss the express warranty claims is

premature, because discovery is needed to resolve the factual issue of whether the defect

is one of design or manufacture. See Persad v. Ford Motor Co., No. 17-12599, at *4


3
 Yamaha Warranty at p. 11-6; SAC ¶ 105 (“Defendant expressly warranted that the Class
Vehicles were of high quality and, at a minimum, would actually work properly.
Defendant also expressly warranted that its vehicles would be “free from defects in
material and workmanship.”).
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(E.D. Mich. July 16, 2018) (denying defendant automobile manufacturer’s motion to

dismiss breach of express warranty claim where discovery was needed to determine

whether fumes entering passenger compartment were due to design or manufacturing

defect); Braden v. Tornier, Inc., C09-5529RJB, 2009 WL 3188075, at *3 (W.D. Wash.

Sept. 30, 2009) (denying motion to dismiss state product liability claim because

“[p]laintiffs properly point out that whether a product's defect was due to its design or

manufacture is the sort of information that is gained in discovery. To force Plaintiffs to

plead facts in support of the theory would shut the courthouse doors before Plaintiffs had

an opportunity to meaningfully engage in the process.”).

       B. Yamaha’s Warranty limits fail because they are unconscionable and
          unenforceable.

       Defendant next argues that Plaintiffs’ express warranty claims should be dismissed

because it made no “extra-contractual” warranties, and that any efforts to seek coverage

under such warranties are barred by the Warranty’s statement that it “makes no other

warranty of any kind, express or implied.” Def. Mem. at 15. That argument fails because

efforts to limit the Warranty coverage in this case are unconscionable and thus

unenforceable, in particular because Yamaha knew about the Radiator Defect at the time

that it sold the Class Vehicles.

       Courts have long held that a seller is unable to disclaim a warranty where its terms

are shown to be unconscionable. See, e.g., Podpeskar v. Makita U.S.A. Inc., 247 F. Supp.

3d 1001, 1009 (D. Minn. 2017) (citations omitted) (denying lithium-ion battery

manufacturer’s motion to dismiss because it knew about design defect, where consumer

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brought putative class action alleging design defects). One way that a buyer can

demonstrate such unconscionability for purposes of seeking to have a warranty

disclaimed is by pleading sufficient facts showing the defendant’s knowledge prior to the

sale. Id. This is precisely what Plaintiffs have done in their Complaint against Yamaha:

the Complaint specifically alleges Defendant’s knowledge of the Radiator Defect. SAC ¶

6; 7; 54). In fact, as further alleged in the Complaint, not only did Yamaha know of the

Radiator Defect, it actually publicized its redesign that was developed to address it.4

Therefore, like the defendant in Podpeskar, Yamaha clearly knew of the design defect

caused by the location of the radiator on its Class Vehicles. As such, its efforts to

disavow the Radiator Defect from Warranty coverage should fail.

       Just as the plaintiff in Podpeskar “cites reviews of Amazon.com as a ‘sampling’ of

the complaints [defendant] received,” 247 F. Supp. 3d at 1004, Plaintiffs in this case

allege specific facts evidencing Defendant’s knowledge of the Radiator Defect. See

Section I(A), supra; cf. Ambassador Press, Inc. v. Durst Image Technology U.S., LLC,

949 F.3d 417, 422 (8th Cir. 2020) (affirming grant of motion to dismiss where buyer of

large-format commercial printer failed because buyer had not set forth any facts beyond

general descriptions of its own experience). Thus, because Yamaha’s knowledge of the

Radiator Defect renders the Warranty unconscionable, the court should be find it to be


4
 See, e.g., SAC ¶ 55 (2019 model is “designed to ensure the cabin remains comfortable
and the radiator stays clear of mud and debris.”) (citation omitted); SAC ¶ 56 (“To ensure
peak performance every ride, the 2019 YXZ1000R SS features a new rear-mounted
radiator: this system not only reduces heat in the cabin, it remains clear of mud or debris
build-up.”) (citation omitted); SAC ¶ 57 (Yamaha press release announcing decision to
revise design of Class Vehicles by relocating the radiator) (citation omitted).
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unenforceable. See, e.g., Hagen v. McAlpine & Co. Ltd., No. 14–1095 (DWF/LIB), 2015

WL 321428 at *3 (D. Minn. Jan. 26, 2015) (“Under Minnesota law, a limitation on

consequential damages [for breach of express warranty] is enforceable unless it is

unconscionable.”); Minn. Stat. § 336.2 –719(1)(a) (“Consequential damages may be

limited or excluded unless the limitation or exclusion is unconscionable.”).

       Further, the Indiana case cited by Yamaha, Art Hill, Inc. v. Heckler, 457 N.E.2d

242 (Ind. Ct. App. 1983), actually supports Plaintiffs’ express warranty claims in this

case. In Art Hill, the Indiana Court of Appeals affirmed a trial court’s enforcement of an

express warranty, where a fifth-wheel camper purchaser had been told by the dealership

that his vehicle would be compatible with a 5/8 ton pickup truck. When the camper

proved to be incompatible with the truck, the buyer sought to enforce the warranty but the

seller argued that it was protected by the following phrase: “The Seller hereby expressly

disclaims all warranties either express or implied. . . ” The court agreed with the buyer

that the disclaimer was inoperative because it was at odds with the express warranty. Id.

at 245. Thus, the Art Hill, Inc. decision actually supports Plaintiffs: Yamaha’s efforts

simply wipe out any other potential warranties, such as design and manufacturing defects,

through the usage of the broad phrase that it “makes no other warranty of any kind” is

inoperative and unenforceable as to Plaintiffs.

       In anticipation of Plaintiffs’ argument that Yamaha’s Warranty is unconscionable,

Defendant relies on Dubbe v. A.O. Smith Harvestone Products, Inc., 399 N.W. 2d 644

(Minn. Ct. App. 1987), a case in which a buyer of silos sued the manufacturer when the

products did not work as expected to result in higher quality feed, healthier animals and

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cost savings. Id. at 646. Dubbe, though, also supports Plaintiffs’ claims: the plaintiff in

Dubbe was a farmer who had prior experience in commercial dealings, so the exclusions

of the Warranty were strictly construed against him. Id. at 647-48. In sharp contrast,

Plaintiffs McQueen and Krautkramer in the instant case – and likely most or all members

of the Class – are not professional users of their Class Vehicles and do not profess to

have any specialized knowledge of them. Instead, both Plaintiffs purchased their Class

Vehicles for recreational use. SAC ¶ 22; 31.

       Moreover, Section 2-302(2) of the UCC, which Plaintiffs’ home states have

adopted,5 requires that “[w]hen it is claimed or appears to the court that the contract or

any clause thereof may be unconscionable the parties shall be afforded a reasonable

opportunity to present evidence as to its commercial setting, purpose, and effect to aid the

court in making the determination.” Plaintiffs are entitled to continue pursuing their

breach of express warranty claim at this time.6

III.   Yamaha Breached its Implied Warranty of Merchantability
       Yamaha argues that Plaintiffs’ breach of the implied warranty of merchantability

should be dismissed because Yamaha disclaimed the warranty in its owner’s manual and




5
 Minn. Stat. § 336.2–302; Ind. Code § 26-1-2-302(2).
6
 In addition, a comment to Ind. Code § 26-1-2-316 provides that “[t]his section is
designed principally to deal with those frequent clauses in sales contracts which seek to
exclude ‘all warranties, express or implied.’ It seeks to protect a buyer from unexpected
and unbargained language of disclaimer by denying effect to such language. . . .” Id., Ed.
Note, Uniform Commercial Code Comment. This is precisely what Yamaha seeks to do
with its Warranty.
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because there is no allegation of a breach. Both arguments are wrong and Yamaha’s

motion to dismiss Plaintiffs’ implied warranty claims should be denied.

          A. Yamaha did not disclaim any implied warranties

      First, disclaimers of implied warranties must be made prior to sale to be binding

on consumers. See, e.g., Kalmes Farms, Inc. v. J-Star Indus., Inc., No. CIV.02-1141

(DWF/SRN), 2004 WL 114976, at *7 (D. Minn. Jan. 16, 2004). Plaintiffs were not

provided with the owner’s manuals prior to purchasing their Class Vehicles. Yamaha also

does not argue it provided the owner’s manuals prior to sale of the Class Vehicles.

Instead, Yamaha simply contends the disclaimer in the owner’s manual effectively

disclaims any implied warranties. Def. Mem. at 17-18.

      Indeed, the first sentence of introduction section of the owner’s manual states:

“Congratulations on your purchase of the [Class Vehicle].” ECF No. 30-3, p.4. There is

no question that the owner’s manual is a post-sale document. Accordingly, the warranty

disclaimer was not bargained for in the agreement between the parties because it was not

presented until after the sale was complete. See Johnson v. Bobcat Co., 175 F. Supp. 3d

1130, 1138-39 (D. Minn. 2016) (denying motion to dismiss because warranty disclaimer

was not received until after sale); see also Kalmes Farms, Inc., 2004 WL 114976, at *7

(“Finally, the Court finds that the disclaimer of remedies and limitations of damages were

not provided to Kalmes Farms until well after the sale took place and therefore are

ineffective as a matter of law”). As the Johnson court summarized:

      Johnson argues that he did not receive the formal warranty at the time of sale,
      which, if true, would render the limitation invalid. Cf. Zutz v. Case Corp.,
      No. 02–1776, 2006 WL 463539, at *3 (D. Minn. Feb. 24, 2006) (“If
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       a disclaimer is not provided at the time of sale, it is invalid.”). Under
       Minnesota law, the time of sale generally occurs upon “physical delivery of
       the goods” to the buyer, Minn. Stat. § 336.2–401(2), and Johnson asserts that
       he did not receive the formal warranty until after delivery. Nothing in the
       complaint undermines this argument, meaning that the Court cannot resolve
       the dispute, and apply the limitation, at this stage of the case. See In re
       Hardieplank Fiber Cement Siding Litig., No. 12–2359, 2013 WL 3717743,
       at *8 (D. Minn. July 15, 2013) (declining to apply a formal warranty clause
       on a motion to dismiss where there was an unresolved factual dispute
       regarding whether the clause was enforceable).

Johnson, 175 F. Supp. 3d at 1138-39 (footnote omitted). Because the owner’s manual

was not provided until after sale, the disclaimer is invalid.

       Second, Yamaha’s disclaimer is not sufficiently conspicuous. “Courts have

considered capitalization, typeface, contrasting color, and location of the clause in

determining whether it is conspicuous.” Valley Paving, Inc. v. Dexter & Chaney, Inc.,

No. C2-00-361, 2000 WL 1182800, at *2 (Minn. Ct. App. Aug. 22, 2000) (citation and

internal quotation marks omitted). A contract “term or clause is conspicuous when it is so

written that a reasonable person against whom it is to operate ought to have noticed it.”

Minn. Stat. § 336.1–201(10).

       Here, the purported disclaimer appears on page 207 of the owner’s manual. ECF

No. 30-3, p. 208. While the disclaimer is capitalized and in bold font, its location renders

it inconspicuous. See, e.g., Noble v. Samsung Elecs. Am., Inc., 682 F. App’x 113, 118 (3d

Cir. 2017) (“Because the contractual provision here appears on the ninety-seventh page

of a ‘Health and Safety and Warranty Guide’ that gives no notice of something claiming

to be a binding bilateral agreement and waiver of legal rights, we will not presume that

consumers read or had notice of that purportedly binding agreement.”).

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       Lastly, Yamaha’s argument also fails because its disclaimer is unconscionable.

Plaintiffs have alleged that Yamaha’s warranties are unconscionable because Plaintiffs

did not have the ability to negotiate the terms and Yamaha concealed that the Class

Vehicles are defective. See SAC ¶¶ 108-109. Yamaha’s admission that it does not present

the implied warranties disclaimer before sale, but merely provides a post-sale disclaimer

at the end of a 200 page owner’s manual further confirms that a consumer would feel

surprised by the disclaimer. Given these facts, Yamaha’s disclaimer is unconscionable,

and Plaintiffs claim necessarily survives dismissal. See Carlson v. General Motors Corp.,

883 F.2d 287, 296 (4th Cir. 1989) (quoting 15 W. Jaeger, Williston on Contracts

§ 1763A, at 225 (1972)) (holding that because “by definition, unconscionability includes

‘the procedural abuse of unfair surprise, usually manifested in the concealment of

important facts’ [ ]” and because “[t]hat is in large measure what plaintiffs have

claimed,” defendant’s implied warranties disclaimer may be found unconscionable”).

       Indeed, in Knotts v. Nissan N. Am., Inc., 346 F. Supp. 3d 1310 (D. Minn. 2018), a

similar argument precluded dismissal. There, the plaintiff alleged that the mileage and

duration limitations on his vehicle were unconscionable because “(1) substantively,

because NNA was aware, prior to the sale of the vehicle, of defects in the CVTs; and (2)

procedurally, because NNA “unilaterally imposed durational and damage limits” in the

Warranty, without affording Plaintiff or the putative class members any bargaining

authority.” Id. at 1322. Plaintiffs allege the same here, and thus should also be afforded

“the opportunity to obtain discovery concerning [the unconscionability] issue.” Id. at



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1323 see also Podpeskar v. Makita U.S.A Inc., 247 F. Supp. 3d 1001, 1009 (D. Minn.

2017) (same).

           B. Yamaha breached the implied warranty of merchantability

       Second, Plaintiffs plainly allege a breach of the implied warranty of

merchantability. Yamaha goes to great lengths to try to recast Plaintiffs’ allegations as if

they purchased their Class Vehicles knowing that Yamaha defectively designed them.

Def. Mem. at 20. This is not true, and also not what Plaintiffs allege. Plaintiffs allege that

Yamaha concealed the design defect that caused the Class Vehicle’s engines to clog with

mud, overheat, and prematurely wear, which causes catastrophic engine failure, engine

stalling, and engine fires. SAC ¶ 3.

       Plaintiffs agree that the implied warranty of merchantability is breached when a

vehicle does not provide safe, reliable transportation. Def. Mem. at 19 (citing

Tellinghuisen v. Chrysler-Group, LLC, No. A13-2194, 2014 WL 4289014, at *3 (Minn.

Ct. App. Sept. 2, 2014)); see also In re MyFord Touch Consumer Litig., 46 F. Supp. 3d

936, 981 (N.D. Cal. 2014) (stating the purpose of a car is “not just to provide

transportation but rather safe, reliable transportation”). Plaintiffs plainly allege that the

defect prevents the safe and reliable use of the Class Vehicles. In addition to the serious

safety concerns alleged above, both Plaintiffs allege that that the defect prevents their use

of the Class Vehicles. Plaintiff McQueen alleges that he attempts to flush the radiator

each time it clogs, but it still continually overheats and clogs. SAC ¶ 21. Plaintiff

Krautkramer alleges the same, and that he was forced to purchase an aftermarket radiator



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relocation kit from his Yamaha dealer to resolve the defect, which caused him $2,000, in

order to be able to use the Class Vehicle in a safe, reliable manner. SAC ¶¶ 30, 33.

       There are numerous cases across the country holding similar allegations sufficient

to state a claim for a breach of the implied warranty of merchantability. See, e.g., Reniger

v. Hyundai Motor Am., 122 F. Supp. 3d 888, 897 (N.D. Cal. 2015) (finding risk of engine

stalling sufficient safety defect); Mui Ho v. Toyota Motor Corp., 931 F. Supp. 2d 987, 997

(N.D. Cal. 2013) (finding potential failure of headlamps sufficient safety defect);

Cholakyan v. Mercedes-Benz USA, LLC, 796 F. Supp. 2d 1220, 1237 (C.D. Cal. 2011)

(finding water leak that could cause electrical faults and engine failure sufficient safety

defect); Cholakyan v. Mercedes-Benz USA, LLC, 796 F. Supp. 2d 1220, 1237 (C.D. Cal.

2011) (finding defective windshield sufficient safety defect because of risk in rollover

accidents); Nelson v. Nissan N. Am., Inc., 894 F. Supp. 2d 558, 561 (D.N.J. 2012) (finding

transmission defect that could cause premature transmission failure to present safety risk);

Henderson v. Volvo Cars of N. Am., No. 09-4146, 2010 WL 2925913, at *9-10 (finding

that allegations of slippage, hesitation, harshness and unexpected transmission failure

which rendered vehicles unfit for the ordinary purpose of driving are sufficient to survive

a motion to dismiss).

       Yamaha’s attempt to compare this case to Polaris Indus., Inc. v. McDonald, 119

S.W.3d 331, 341 (Tex. Ct. App. 2003), also fails. Def. Mem. at 19. In Polaris, the jet skis

at issue included warning decals alerting potential purchasers to the fact that the jet skits

did not have “off-throttle steering or braking capabilities.” Id. at 340-41. Here, Plaintiffs



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are alleging precisely the opposite: Yamaha failed to warn of the defect prior to the

Plaintiffs’ purchases. SAC ¶¶ 5, 10, 66. As such, Polaris is inapposite.

       Because Yamaha’s purported disclaimers are invalid, and because Plaintiffs

properly allege the defect breaches the implied warranty of merchantability and involves

safety concerns, Yamaha’s attempt to dismiss Plaintiffs’ implied warranty claims should

be rejected.

IV.    Plaintiffs’ Unjust Enrichment Claim is Properly Pled
       Yamaha contends that Plaintiffs’ unjust enrichment claims should be dismissed for

two reasons. First, Yamaha argues that its decision to conceal the defect is not unjust.

Second, Yamaha argues that its written warranty precludes claims pled in the alternative

at the pleading stage. Both arguments should be rejected.

       First, Plaintiffs allege that Yamaha knowingly sold defective Class Vehicles to

Plaintiffs and the class. SAC ¶¶ 6-7, 54-66. Indeed, the SAC is replete with detailed

allegations regarding the specific nature of the defect, and Yamaha’s decision to conceal

that defect from consumers at the point of sale. These allegations form the basis for

Yamaha’s violations of the consumer protection statutes in both Minnesota and Indiana.

SAC ¶¶ 80-103. Had Yamaha disclosed the defect instead of concealed it, Plaintiffs

would not have purchased their Class Vehicles. SAC ¶¶ 10, 66. These allegations are

sufficient to state an unjust enrichment claim. Daigle v. Ford Motor Co., 713 F. Supp. 2d

822, 828 (D. Minn. 2010) (denying motion to dismiss unjust enrichment claim because

“[t]he Complaint alleges that each of the Plaintiffs would have insisted on paying a lower

price or would not have purchased their vehicles at all had they known of the alleged

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defects.”). In short, Plaintiffs have adequately alleged that Yamaha illegally benefited

from the sale of the Class Vehicles.

       Yamaha attempts to emphasize the fact that its newer models featured a relocated

radiator in attempt to shift the burden to Plaintiffs to discover the defect on their own.

Def. Mem. at 24. Preliminarily, Plaintiffs do allege that they would not have purchased

their Class Vehicles, or would have paid less, had Yamaha disclosed the defect. SAC ¶

10. Regardless, Yamaha contends that Plaintiffs’ claim should be dismissed because it

believes “[t]he only reasonable conclusion is that the purchase price of Plaintiffs’ Side by

Sides reflected the fact that the [Class Vehicles still had the radiator in the front].” Def.

Mem. at 24. Plaintiffs allege just the opposite: that the price did not reflect the defective

radiator because Yamaha concealed that the Class Vehicles were defective. SAC ¶¶ 5,

45-46, 66. “[T]he court must take the plaintiff’s factual allegations as true.” Braden v.

Wal-Mart Stores, Inc., 588 F.3d 585, 594 (8th Cir. 2009) (citation omitted). As such,

Yamaha’s baseless “conclusion” must be rejected.

       Second, Plaintiffs’ unjust enrichment claim is adequately pled in the alternative to

their contract-based claims at this stage. The Federal Rules of Civil Procedure clearly

authorize pleading claims in the alternative. Fed. R. Civ. P. 8(a)(3). Yamaha’s argument

was rejected in Knotts v. Nissan North America, Inc., where the Court observed that

while “ a party may not ultimately recover on both breach of contract and unjust

enrichment claims, it may pursue these alternative theories until it is conclusively decided

that a valid and enforceable contract exists between the parties which governs the specific

dispute before the court.” 346 F. Supp. 3d 1310, 1323 (D. Minn. 2018) (internal citation

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marks and citation omitted). As such, the Court denied the motion to dismiss until after

such a finding was made on summary judgment. Id.; see also Podpeskar v. Makita

U.S.A., Inc., 247 F. Supp. 3d 1001, 1012-13 (D. Minn. 2017) (stating that at the pleading

stage “it is impossible to know . . . if [Plaintiff] has an adequate remedy at law” and

finding unjust enrichment claim properly pled in the alternative); Mono Advert., LLC v.

Vera Bradley Designs, Inc., 285 F. Supp. 3d 1087, 1091 (D. Minn. 2018) (same).

       Here, Plaintiffs should be permitted to pursue their warranty claims in the

alternative. Indeed, Yamaha argues that the its warranty is not applicable to the Class

Vehicles. Def. Mem. at 24. Yamaha cannot have it both ways, i.e. it cannot credibly

argue that the alleged defect is not covered by the warranty while simultaneously

contending the warranty bars Plaintiffs’ unjust enrichment claim. As such, Yamaha’s

motion to dismiss should be denied.

                                      CONCLUSION

       For the foregoing reasons, Yamaha’s motion to dismiss should be denied.



Dated: March 16, 2020                             Respectfully submitted,

                                                  GUSTAFSON GLUEK PLLC

                                           By:    s/ David A. Goodwin
                                                  David A. Goodwin (#386715)
                                                  Daniel C. Hedlund (#258337)
                                                  Ling S. Wang (#399447)
                                                  Mickey L. Stevens (#398549)
                                                  Canadian Pacific Plaza
                                                  120 South Sixth Street, Suite 2600
                                                  Minneapolis, Minnesota 55402
                                                  Tel: (612) 333-8844

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                                   Facsimile: (612) 339-6622
                                   dgoodwin@gustafsongluek.com
                                   dhedlund@gustafsongluek.com
                                   lwang@gustafsongluek.com
                                   mstevens@gustafsongluek.com


                                   Matthew D. Schelkopf
                                   (admitted pro hac vice)
                                   Joseph B. Kenney
                                   (admitted pro hac vice)
                                   SAUDER SCHELKOPF
                                   555 Lancaster Avenue
                                   Berwyn, PA 19312
                                   Tel: (610) 200-0581
                                   Facsimile: (610) 421-1326
                                   mds@sstriallawyers.com
                                   jbk@sstriallawyers.com

                                   Attorneys for Plaintiffs




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